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10
                      IN THE UNITED STATES DISTRICT COURT
11                  FOR THE EASTERN DISTRICT OF WASHINGTON
                                SPOKANE DIVISION
12

13    FRED L. REDMON,                              Case No. 2:21-cv-304

14                       Plaintiff,
                                                   COMPLAINT
15    v.
                                                   DEMAND FOR JURY TRIAL
16    BNSF RAILWAY COMPANY,
      a Delaware corporation
17

18                       Defendant.

19
           Plaintiff Fred L. Redmon (“Plaintiff”), by and through his undersigned counsel, and
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21   for his cause of action against Defendant BNSF Railroad Company (“Defendant” or

22   “BNSF”), a Delaware corporation, states and alleges as follows:
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24
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1                             I.     PARTIES AND JURISDICTION
2          1.     At all material times, Plaintiff was and is a resident of the State of Washington.
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           2.     At all material times, Defendant was and is a corporation duly organized and
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     existing under the laws of the state of Delaware, and was operating a system of railroad
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     tracks in the State of Washington and other states, and said system included lines of track
6

7    in the District where this action is filed.

8          3.     At all material times, Defendant was an interstate carrier by rail and was
9    engaged in interstate transportation and commerce; Plaintiff was employed by Defendant
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     in a capacity such that he was working and engaged in interstate transportation and
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     commerce at the times hereinafter set forth; and at all relevant and material times to this
12
     Complaint, Plaintiff was working in the furtherance of Defendant’s interstate commerce,
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14   and in work which directly, closely, and substantially affected the general interstate

15   commerce carried on by said Defendant as a railroad common carrier of freight for hire.
16         4.     The jurisdiction of this Court is in part based upon 45 U.S.C. § 51 et seq.,
17
     commonly known as the Federal Employers' Liability Act (“FELA”), and this action is
18
     timely commenced within the meaning of 45 U.S.C. § 56.
19
           5.     The jurisdiction of this Court is also in part based upon 49 U.S.C. § 20109,
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21   et seq., commonly known as the Federal Railroad Safety Act (“FRSA”). Plaintiff timely

22   filed an administrative claim under the FRSA with the Occupational Safety and Health
23   Administration’s (“OSHA”). More than 210 days have elapsed, and while an initial
24
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1    decision was issued by OSHA, Plaintiff has elected to exercise his right to file an original
2    action de novo pursuant to 49 U.S.C. § 20109(d)(3) rather than to pursue further
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     administrative action with OSHA.
4
                                 II.    STATEMENT OF FACTS
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           6.     Mr. Redmon was employed with BNSF as a Trainman (Conductor and
6

7    Switchman) from March 2001 through his illegal termination by BNSF in September 2020.

8          7.     Mr. Redmon was charged with varying duties around train yards, including
9    utilizing a Kubota 4-wheel vehicle, sometimes referred to as a “mule,” owned and
10
     maintained by BNSF.
11
           8.     BNSF modified the throttle mechanism of the Kubota 4-wheel vehicles it
12
     owned and maintained by, among other tasks, placing a speed governor on such vehicles.
13

14         9.     BNSF was aware of at least two instances in which the throttle stuck on such

15   Kubota vehicles prior to September 2020, including one that resulted in an injury claim by
16   another employee and another by a supervisor who was demonstrating use of the vehicle.
17
           10.    On September 10, 2020, Mr. Redmon was operating a Kubota as part of his
18
     duties on behalf of BNSF at the Yardley Yard in Spokane, Washington, with a physical
19
     address of 4300 E. Wisconsin Avenue, Spokane, WA 99212.
20

21         11.    He was operating the Kubota in the east end of the yard when the throttle stuck,

22   taking the speed of the Kubota out of his control and resulting in him crossing a set of rails
23   and crashing into an unmarked pole.
24
                                                                            ROSSI VUCINOVICH               P.C.
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1           12.    BNSF was aware that the vehicle had been damaged in this incident, and that
2    Mr. Redmon was exhibiting signs of a concussive event.
3
            13.    Mr. Redmon suffered injuries to his head, neck, and back in the collision, and
4
     he submitted a written injury report to BNSF.
5
            14.    Mr. Redmon’s injuries at least temporarily left him unable to perform his work
6

7    duties.

8           15.    While he was out of work as a result of the personal injuries he sustained on
9    September 10, 2020, BNSF, on information and belief, made the decision to retaliate against
10
     Mr. Redmon for making a personal injury report and for reporting safety defects associated
11
     with the Kubota.
12
            16.    BNSF elected to pursue discipline against Mr. Redmon, on information and
13

14   belief at least in part because he had suffered an injury and submitted an injury report and

15   in part for his report of safety defects associated with the Kubota.
16          17.    Within weeks, BNSF decided to terminate Mr. Redmon, but did so, on
17
     information and belief, illegally at least in part because he had suffered an injury and
18
     submitted an injury report, and in part because he had challenged the safety of the Kubota
19
     4-wheeler on which he had been injured, as he reported that the throttle had stuck in an open
20

21   position to result in his injury.

22

23

24
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1          18.    The reason given for the termination ignored the reported safety defects in the
2    vehicle that led to a purported rule violation, and the injury that resulted therefrom, though
3
     BNSF even sought to, during the hearing, hold Mr. Redmon responsible for being injured.
4
                            III.   COUNT ONE—FELA NEGLIGENCE
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           19.    Plaintiff repeats and incorporates by reference herein all the foregoing
6

7    paragraphs as if fully set forth.

8          20.    On or about September 10, 2020, Plaintiff was employed by Defendant as a
9    Trainman and was working on Defendant’s property in Spokane, Washington.
10
           21.    On that date, Mr. Redmon was performing his duties for BNSF when he was
11
     injured as described above in a Kubota vehicle that had been improperly modified and/or
12
     improperly maintained by BNSF.
13

14         22.    Mr. Redmon reported his injuries to BNSF.

15         23.    The injuries and damages suffered by Plaintiff as a result of the incident on
16   September 10, 2020, were caused, in whole or in part, by the negligence of Defendant, its
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     agents, employees and/or officers, and in violation of 45 U.S.C. § 51-60 et seq., including,
18
     but not limited to:
19
                      a. Negligently failing to maintain the Kubota 4-wheeler to maintain a
20

21                         safe place to work for BNSF employees, including Mr. Redmon;

22                    b. Negligently modifying the throttle mechanism on the Kubota 4-
23                         wheeler, resulting in the throttle being stuck;
24
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1                       c. Negligently failing to address a known unsafe condition following not
2                          less than two prior throttle-sticking events concerning the Kubota 4-
3
                           wheelers, including at least one prior employee injury;
4
                        d. Negligently failing to mark the pole into which Mr. Redmon crashed
5
                           the Kubota as a result of the other negligence of BNSF; and
6

7                       e. Other acts of negligence to be proven at trial resulting in a violation

8                          of the FELA.
9           24.    Due, in whole or in part, to Defendant’s negligence, Plaintiff sustained
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     severe and potentially permanent injuries, including injuries to his head, neck, and back
11
     and the bones, muscles, ligaments, cartilage, and other structures and tissues comprising
12
     such body parts.
13

14          25.    Plaintiff has suffered in the past, and will continue to suffer in the future,

15   pain and anguish and loss of enjoyment of life, and he is otherwise injured and, to some
16   degree, disabled.
17
            26.    In an effort to treat, heal, and relieve his injuries, Plaintiff has spent, and will
18
     continue to spend, monies for medical and related care and treatment in amounts to be
19
     proven at trial.
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21          27.    As a direct result, in whole or in part, of Defendant’s negligence in violation

22   of the FELA, Plaintiff has lost wages in the past, will continue to lose wages in the future,
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1    and will sustain a permanent diminution of earning capacity and loss of fringe benefits in
2    amounts to be proven by the evidence at the trial of this matter.
3
                              IV.   COUNT TWO—FRSA RETALIATION
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            28.    Plaintiff repeats and incorporates by reference all the preceding paragraphs
5
     as if fully set forth.
6

7           29.    The Federal Railroad Safety Act, in 49 U.S.C. § 20109(a)(4) and its

8    implementing regulations at 29 CFR § 1982 et seq. state that a railroad engaged in
9    interstate commerce may not discharge, demote, suspend, reprimand, or in any other way
10
     discriminate against an employee who reports, or attempts to report, a work-related
11
     personal injury.
12
            30.    The Federal Railroad Safety Act, in 49 U.S.C. § 20109(b)(4) and its
13

14   implementing regulations at 29 CFR § 1982 et seq., states that a railroad engaged in

15   interstate commerce may not discharge, demote, suspend, reprimand, or in any other way
16   discriminate against an employee who reports, in good faith, a hazardous safety or
17
     security condition.
18
            31.    Defendant knew that Mr. Redmon engaged in protected activities as defined
19
     in 49 U.S.C. § 20109(a)(4) and (b)(4).
20

21          32.    Defendant retaliated against Mr. Redmon and subjected him to adverse

22   employment action subsequent to his engaging in protected activities as defined in 49
23   U.S.C. § 20109(a)(4) and (b)(4). Specifically, Mr. Redmon was terminated, at least in
24
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1    part, for reporting a workplace injury and for reporting, in good faith, a hazardous safety
2    condition.
3
           33.      Mr. Redmon’s engaging in the protected activities as defined in 49 U.S.C.
4
     § 20109(a)(4) and (b)(4) constituted at least a contributing factor to the adverse actions
5
     taken against Mr. Redmon.
6

7                                 V.    REQUEST FOR RELIEF

8          WHEREFORE, Plaintiff respectfully requests that judgment be entered against
9    Defendant BNSF Railway Company for damages under 45 U.S.C. §51, et seq., the FELA,
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     including special and general damages in an amount established by the evidence, along
11
     with damages under 49 U.S.C. § 20109, et seq., the FRSA, including, but not limited to,
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     interest on back pay due to Mr. Redmon, compensatory damages, including reasonable
13

14   attorneys’ fees associated with bringing the present action, expert witness fees, and costs

15   of suit, punitive damages of up to $250,000, and such other relief the court may deem
16   appropriate.
17
                                       VI.   JURY DEMAND
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           Plaintiff hereby demands a jury of twelve of his peers.
19
           DATED: October 20, 2021.
20
                                             ROSSI VUCINOVICH PC
21

22
                                              s/ C. N. Coby Cohen
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23                                           ccohen@rvflegal.com
                                             Attorneys for Plaintiff
24
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